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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS


     United States of America,                        CaseNo. 3:16CR516-4

                                  Plaintiff,          SENTENCING ORDER
                  -vs-                                RE: SPECIAL CONDITIONS
                                                      OF SUPERVISED RELEASE
     Wil~n McPherson Burt (4),
                                                     JUDGEJACKZOUHARY
                                  Defendant.


                                           SPECIAL CONDITIONS

          Financial Information
          Defendant shall provide to the probation officer complete any requested financial information.


          No Alcohol
          Defendant shall abstain from the use of alcohol and all other intoxicants during the term of
          superv1s10n.


          Mental Health Treatment
          Defendant shall participate in mental health treatment services as directed by the probation
          officer until successfully discharged. These services may include medications prescribed
          by a licensed physician. Defendant shall contribute to the costs of services rendered
          (copayments) at a rate of at least $25 per month.


          Employment
          Defendant shall not be employed by, affiliated with, own or control, or otherwise participate,
          directly or indirectly, in the business of medical billing without the probation officer's
          approval.
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          Restitution
          Defendant shall pay any remaining balance of restitution as set out in the Judgment.




          I have reviewed and understand the above special conditions of my sentence outlined by the

   Judge at my sentencing hearing today.

          Further, I waive any late notice and supporting explanation of each of these conditions

   as may be required under 18 U.S.C. § 3583.



          Date:                                              ~~~
                                                         Wilfe'6n McPherson Burt, Defendant
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